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                          United States Bankruptcy Court
                            Eastern District of Virginia
                                Alexandria Division

    In re:

        WW Contractors, Inc.,                           Case No. 18-12095-BFK

              Debtor.                                   Chapter 11

                                        Hearing: December 11, 2018, 11:00 am
                                                 Courtroom I, 2nd Floor

                      Objection to Retention of Whiteford
                 Taylor & Preston, LLP as Counsel to the Debtor

    Comes Now, John P. Fitzgerald, III, Acting United States Trustee for Region 4,

 and files this objection to the application of the Debtor to approve the employment

 of Whiteford, Taylor & Preston, (“WT&P”) as attorney for the Debtor. Docket No.

 122.

    The Debtor proposes to pay WT&P a $15,000 retainer, and thereafter pay

 WT&P $15,000 a month. The monies will be held in WT&P’s client trust account

 until the Court authorizes payment.

    The United States Trustee objects because the Debtor owes the United States

 Trustee $39,480 in fees for the 3rd quarter of 2018.

    The fee was due October 31, 2018. 28 U.S.C. Section 1930(a)(6)(A) (“The

 [UST] fee shall be payable on the last day of the calendar month following the

 calendar quarter for which the fee is owed”).
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    Approving the retention and payment of a $15,000 retainer and $15,000 every

 month thereafter to WT&P while United States Trustee fees are in arrears violates

 a fundamental principle of bankruptcy - similar interests are to be treated similarly.

   Moreover, the importance of paying the United States Trustee fees cannot be

 overstated. Congress, in its wisdom, has enumerated the failure of a debtor to pay

 the fee as “cause” to dismiss or convert this case. 11 U.S.C. Section 1112(b)(4)(K)

 (“failure to pay any fee or charges required under chapter 123 of title 28”).



                                  John P. Fitzgerald, III
                                  Acting United States Trustee
                                  For Region 4

                                  /s/ Jack Frankel
                                  Jack Frankel, Attorney
                                  Office of United States Trustee
                                  1725 Duke Street, Suite 650
                                  Alexandria, VA 22314
                                  (703) 557-7229

                                Certificate of Service

    I hereby certify that on the 21st day of November, 2018, I e-mailed a copy of
 this objection to David W. Gaffey, Esq., dgaffey@wtplaw.com and Aryeh E. Stein,
 Esq., astein@meridianlawfirm.com.

                                  /s/ Jack Frankel
